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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 MICHIGAN DEPARTMENT OF
 ENVIRONMENTAL QUALITY,

        Plaintiff,                                              Case No. 1:18-cv-39

 and                                                            HON. JANET T. NEFF

 PLAINFIELD CHARTER TOWNSHIP, et al.

        Intervenors-Plaintiffs,

 v.

 WOLVERINE WORLD WIDE, INC.,

       Defendant.
 ________________________________

 WOLVERINE WORLD WIDE, INC.,

        Third-Party Plaintiff,

 v.

 3M COMPANY,

        Third-party Defendant.
 ____________________________/

                                          ORDER

       This complex litigation was initiated by state and local governments against Defendant

Wolverine World Wide, Inc. under the citizen enforcement provision of the Resource

Conservation and Recovery Act (RCRA), 42 U.S.C. § 6972(a)(1)(B), and Part 201, Environmental

Remediation, of the Michigan Natural Resources and Environmental Protection Act (NREPA),

MICH. COMP. LAWS § 324.20101 et seq. This case is at the center of extensive legal action
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involving PFAS1 environmental contamination in northern Kent County, Michigan, stemming

from Wolverine’s use and disposal of product containing Scotchgard in its Rockford, Michigan

facilities.2 The complexity of the claims, issues and relief notwithstanding, the parties have entered

into a Consent Decree in settlement of key disputes and providing expedient and expansive relief

for affected homeowners and the community. The parties’ Joint Motion for Entry of the Consent

Decree is granted without reservation.

       The Consent Decree is a model resolution of a very complex problem that reflects the

cooperative spirit of the parties to the litigation, in light of very serious public health consequences

as a result of the contamination of the water supply of residents of northern Kent County. Through

the parties’ diligence and overriding focus on the public interests at stake, they negotiated a

resolution in what is, by all accounts, record time for environment litigation of this nature.

       The Court gives credit to all involved for this model collaborative resolution: to the lawyers

who have guided this process through the Court, the support staff, consultants, government

officials, the community, and the parties themselves—the Michigan Department of Environmental

Quality, Plainfield and Algoma Townships, and Wolverine World Wide, Inc. Their achievement

demonstrates that it is possible to resolve litigation in the context of broader principles and

priorities—that reach far beyond the disputes immediately before the Court. The Consent Decree

sets a high, but reasonable standard for litigation to achieve an expeditious and fair resolution of

the claims and issues arising from the Michigan PFAS contamination crisis. It also sets a high,

but fair standard for carrying out the obligations and commitments made in the Consent Decree,




1
  PFAS Compounds include PFOA (perfluorooctanoic acid) and PFOS (perfluorooctane sulfonate)
and other per- and polyfluoroalkyl substances.
2
  This Court currently has five Wolverine cases involving PFAS contamination, including three
consolidated class actions. Hundreds more individual cases have been filed in state court.
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in the best interests of the affected homeowners, the surrounding communities, and the state of

Michigan.

       Therefore:

       IT IS HEREBY ORDERED that the Joint Motion for Entry of Consent Decree (ECF No.

148) is GRANTED; the Consent Decree will be signed and entered accordingly as a final judgment

under FED. R. CIV. P. 54 and 58 with respect to the claims of Plaintiff Michigan Department of

Environmental Quality and Intervenors-Plaintiffs Algoma and Plainfield Townships against

Defendant Wolverine World Wide, Inc.

       IT IS FURTHER ORDERED that the parties to the remaining third-party claims and

counterclaims, Wolverine World Wide, Inc. and 3M Company, shall not later than March 4, 2020

file a Joint Notice setting forth (1) the status of the claims/case, and (2) recommendations for

proceeding.



Dated: February 19, 2020                                    /s/ Janet T. Neff
                                                           JANET T. NEFF
                                                           United States District Judge




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